 Case 4:01-cr-40017-JPG         Document 471 Filed 06/23/09             Page 1 of 3       Page ID
                                          #638



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )
                                                 )
vs.                                              )       Cr. No. 01-40017-011 JPG
                                                 )
DEREK A. WAITHE,                                 )
                                                 )
       Defendant.                                )


                               MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Derek A. Waithe’s pro se motion for a

reduction of his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) and United States

Sentencing Guideline Manual (“U.S.S.G.”) § 1B1.10 (Doc. 406). The Court appointed counsel

for Waithe, and counsel has moved to withdraw on the basis that she can make no non-frivolous

arguments in support of the defendant’s request (Doc. 453). See Anders v. California, 386 U.S.

738, 744 (1967). The government has responded to the motions (Docs. 464 and 465). Waithe has

responded to counsel’s motion to withdraw (Doc. 457).

       Waithe pled guilty to one count of conspiring to distribute and possess with intent to

distribute crack cocaine. At sentencing, the Court found by a preponderance of the evidence that

Waithe’s relevant conduct was at least 4.5 kilograms of crack cocaine , which under United States

Sentencing Guideline Manual (“U.S.S.G.”) § 2D1.1 yielded a base offense level of 38. His

offense level was increased by two points under U.S.S.G. § 2D1.1(b)(1) for possession of a

dangerous weapon, and was increased by four points under U.S.S.G. § 2B1.1(a) for his leadership

role in the conspiracy. His offense level was reduced by three points under U.S.S.G. § 3E1.1 for

acceptance of responsibility for a total offense level of 41. Considering Waithe’s criminal history

                                                 1
 Case 4:01-cr-40017-JPG           Document 471 Filed 06/23/09              Page 2 of 3       Page ID
                                            #639



category of III, this yielded a sentencing range of 360 months to life in prison. The Court

imposed a sentence of 420 months imprisonment, less than the statutory maximum sentence

established by Waithe’s conviction. See 21 U.S.C. § 841(b)(1)(A). Waithe now asks the Court to

apply recent changes to U.S.S.G. § 2D1.1 to lower his sentence.

       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

994(o).” In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and

must ensure that any reduction “is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence reduction

under § 3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must have lowered

the applicable guideline sentencing range, and (2) the reduction must be consistent with

applicable policy statements issued by the Sentencing Commission. If the defendant cannot

satisfy the first criterion, the Court has no subject matter jurisdiction to consider the reduction

request. United States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v.

Forman, 553 F.3d 585, 588 (7th Cir.), cert. denied sub nom McKnight v. United States, 129 S.Ct.

1924 (2009).

       Waithe cannot satisfy the first criterion because he was not “sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). Amendments 706 and 711

amended U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base offense

levels associated with various amounts of crack cocaine. Amendment 715, effective May 1, 2008,

further amended the commentary to U.S.S.G. § 2D1.1 by revising the manner in which offense levels

                                                   2
 Case 4:01-cr-40017-JPG          Document 471 Filed 06/23/09             Page 3 of 3      Page ID
                                           #640



are determined in cases involving crack cocaine in combination with other controlled substances.

The Sentencing Commission amended U.S.S.G. § 2D1.1(c) intending to alter the disparity in

sentences involving crack cocaine and sentences involving powder cocaine. The amendments did

not, however, reduce the sentencing range of defendants whose relevant conduct was 4.5

kilograms or more of crack cocaine. See Forman, 553 F.3d at 590 (stating that the amendment

“affects only defendants who are responsible for distributing fewer than 4.5 kilograms of crack

cocaine”). Waithe was sentence based on relevant conduct that exceeded 4.5 kilograms of crack

cocaine. Under the old and amended guidelines this relevant conduct warranted a base offense

level of 38. Thus, the amendment did not lower his guideline range, and he cannot satisfy the

first criterion under 18 U.S.C. § 3582(c)(2) for obtaining a sentence reduction.

       Because Waithe cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for

obtaining a sentence reduction, the Court does not have subject matter jurisdiction to consider his

reduction request. See Forman, 553 F.3d at 588; Lawrence, 535 F.3d at 637-38. The Court

therefore GRANTS counsel’s motion to withdraw (Doc. 453) and DISMISSES Waithe’s motion

for a sentence reduction (Doc. 406) for lack of jurisdiction. The Clerk of the U.S. District Court

is hereby DIRECTED to mail a copy of this order to Defendant Derek A. Waithe, Reg. No.

05407-025, FCI Manchester, P.O. Box 4000, Manchester, KY 20962.

IT IS SO ORDERED.
Dated this 23rd day of June, 2009.


                                              S/ J. Phil Gilbert
                                              J. PHIL GILBERT
                                              U.S. DISTRICT JUDGE




                                                 3
